
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                ____________________
          No. 96-2182
                                   UNITED STATES,
                                      Appellee,
                                         v.
                                   ADOLFO MAGANA,
                               Defendant - Appellant.
                                ____________________
          No. 96-2183
                                   UNITED STATES,
                                      Appellee,
                                         v.
                               ANA MARIA MEDA-SANTOS,
                               Defendant - Appellant.
                                ____________________
                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. D. Brock Hornby, U.S. District Judge]
                                ____________________
                                       Before
                          Stahl and Lynch, Circuit Judges,
                         and O'Toole, Jr.,  District Judge.
                                _____________________
                              
           Of the District of Massachusetts, sitting by designation.

               Thomas J. Connolly
                                , by appointment of the court, for appellant
          Adolfo Magana.
               Bruce 
                     M. 
                        Merrill, by appointment of the court, with whom
          Merrill &amp; Merrill, P.A.
                                , was on brief for appellant Ana Maria Meda-
          Santos.
               F. Mark Terison, Assistant United States Attorney, with whom
          Jay 
              P. 
                 McCloskey, United States Attorney, and   Donald 
                                                                 E. 
                                                                     Clark,
          Assistant United States Attorney, were on brief for appellee.
                                ____________________
                                 September 16, 1997
                                ____________________
                                         -2-

                    O'TOOLE, 
                            District Judge
                                          . Adolfo Magana was convicted by
          a jury of entering into a sham marriage to evade the immigration
          laws, in violation of 18 U.S.C. S 1325(b). His codefendant Ana
          Maria Meda-Santos was convicted of aiding and abetting Magana's
          crime. 18 U.S.C. S 2. Both defendants were also convicted of
          conspiracy to defraud the United States. 18 U.S.C. S 371. 
                    They appeal from their convictions, asserting that the
          district court erred in the way it dealt with the government's
          violation of a witness sequestration order. The defendants
          criticize the district court's handling of the violation in three
          respects. First, both defendants contend that the court erred in
          denying their motions for a mistrial. In addition, Meda-Santos
          argues that the court abused its discretion in striking the
          redirect and Magana's recross-examination of the witness involved,
          thereby depriving her of the opportunity for any recross-
          examination of the witness. Finally, Meda-Santos objects to the
          district court's denial of her pretrial severance motion, and she
          points to the codefendants' disagreement as to how the court should
          respond to the sequestration violation as evidence of prejudice to
          her from the refusal to sever.  The defendants further contend that
          the court erred in denying them a pretrial opportunity for
          discovery concerning their allegations of selective prosecution and
          later in denying their motion for a new trial when events at trial
          added support to the allegations. 
                    For the reasons that follow, we find no error and affirm
          the convictions. 
                                         -3-

                                         I.
                    Magana is a native and citizen of El Salvador who came to
          the United States seeking asylum. He was granted leave to remain
          in the country on a nonpermanent basis and to work while his
          application for asylum pended. Magana and Meda-Santos were friends
          who spent a substantial amount of time together. They both were
          employed by the same company in Portland, Maine, as were two other
          persons involved in relevant events, Tina Ferrante and Ronda
          Cunningham. 
                    Magana's legal status in this country was only temporary,
          and if his application for asylum were to be rejected, he faced the
          prospect of losing his right to remain legally within the United
          States. In March 1995, his friend Meda-Santos approached her co-
          worker Ferrante, a citizen, to see if she would agree to marry
          Magana so he could become a permanent resident. Ferrante declined,
          but she suggested her friend Cunningham for the scheme. On July
          14, 1995, Magana, Meda-Santos, Ferrante, and Cunningham all met at
          Magana's apartment and worked out the plan. Cunningham agreed to
          marry Magana in exchange for $2,000.
                    A week later, Magana and Cunningham were married by a
          justice of the peace at Magana's apartment in the presence of Meda-
          Santos and Ferrante. That evening Cunningham received a partial
          payment of the agreed price for her participation. There was
          evidence that despite their marriage, Magana and Cunningham did not
          live together as husband and wife.
                                         -4-

                    In late August, Magana and Cunningham completed and
          submitted the forms required by the Immigration and Naturalization
          Service ("INS") for an adjustment of Magana's status to permit him
          permanent residence by reason of his marriage to a United States
          citizen. In accordance with INS practice, after the forms had been
          reviewed Magana and Cunningham were summoned to an interview at the
          local INS office. In separate interviews, they gave inconsistent
          information about their circumstances and living arrangements.
          Each appeared to know little personal information about the other.
          When Cunningham was confronted by the interviewer with the fact of
          the inconsistencies, she confessed her participation in the scheme.
          She was eventually given immunity in exchange for her cooperation
          with the prosecution, and she was a key witness at the trial of the
          defendants.
                    Both defendants filed pretrial motions to sever their
          trials, which were denied by a magistrate judge for the reason that
          neither had shown any likely prejudice from a joint trial. The
          defendants also sought pretrial discovery from the government to
          support their claim that these defendants, Spanish-speaking non-
          citizens, were victims of selective prosecution because of their
          ethnicity and national origin. The district court refused to order
          the requested discovery.
                              
           Ferrante also cooperated with the prosecution and was not
          charged, although it does not appear that she was granted immunity.
                                         -5-

                    At the commencement of the trial, counsel for Magana
          moved orally for the sequestration of witnesses. The court granted
          the motion, saying, "Yes, and I'll rely on all counsel to watch the
          courtroom to let me know whether there's anyone in who should not
          be present." Trial Transcript ("Tr.") at 3. Nothing further was
          said about any specific terms of the sequestration order. 
                    The first trial day ended with the important government
          witness Cunningham on the stand. She had given extensive testimony
          on direct examination and had been cross-examined at length by
          counsel for both defendants.  The prosecutor indicated that he
          would have some redirect examination when the trial resumed the
          next day.
                    After redirect examination that lasted just over fifteen
          minutes, counsel for Magana conducted recross-examination, in the
          course of which the witness disclosed, in answer to a question,
          that she had talked to the prosecutor about her testimony during
          the overnight recess. 
                    Defense counsel immediately protested that there had been
          a violation of the witness sequestration order, and they moved for
          a mistrial. The court denied the motions. Although the court
          found that the prosecutor had violated the sequestration order, it
          also concluded that there was no prejudice to the defendants from
          the violation. The court said, "[T]he redirect, although competent
          redirect, certainly, did not significantly impair whatever value
                              
           The district court was moved to observe, twice, that the
          questioning had become repetitive. Tr. at 228, 261.
                                         -6-

          there was in the cross-examination that took place yesterday."
          Tr. at 266. Moreover, the court found that the violation of the
          sequestration order had been unintentional, the result of a
          misunderstanding by the prosecutor of the scope of the order. 
                    After denying the mistrial motions, the court extended to
          defense counsel the option of continuing the recross in front of
          the jury or of conducting a 
                                     voir dire
                                              , outside the presence of the
          jury, to determine the discussions that had occurred between the
          witness and the prosecutor. The court said: "I certainly will
          permit cross-examination about the nature of the meeting this
          morning, what was said or suggested, and the only issue is whether
          you request to do that now before doing it in front of the jury, or
          whether you would rather do it once with the witness present in
          front of the jury." Tr. at 267. After conferring, counsel elected
          to conduct a voir dire.
                    In the voir dire, Cunningham testified that she had met
          for fifteen to twenty minutes that morning with the Assistant
          United States Attorney and an INS Special Agent. She testified
          that the prosecutor went over the questions he intended to ask her
          in the course of redirect examination, identifying the particular
          parts of the cross-examination that the questions were intended to
          address. She testified that she was not told how she should answer
          the questions that would be asked. 
                    Counsel for both defendants asked that Cunningham's
          testimony that day be stricken. Tr. at 264. One of them
          summarized the testimony as indicating that "the U.S. Attorney's
                                         -7-

          Office essentially did a practice run of the redirect examination
          today." Tr. at 285. Counsel argued that the rehearsal gave the
          prosecution an unfair advantage that it would have lacked if the
          sequestration order had been obeyed. 
                    After a short recess to consider the matter, the district
          court confirmed its denial of the defense motions for a mistrial,
          and further said:
                      Counsel, I am considering striking the
                      testimony for reasons I'll describe in a
                      moment, but before I do that, I want to be
                      sure that the defendants' lawyers fully
                      appreciate and understand what they're
                      doing on this score. I've denied the
                      motion for mistrial. If I strike the
                      testimony, Ms. Cunningham will not take
                      the stand any further, she will be done as
                      a witness. 
                      That means that the cross-examination that
                      took place this morning as well as the
                      direct will all come out, as well as the
                      Defendant's Exhibit 9 that was admitted,
                      the Government's Exhibit 200, the
                      cooperation agreement. That may be able to
                      come in in some other fashion, and
                      therefore, the defendants are choosing not
                      to explore any further credibility issues
                      or reliability issues concerning Ms.
                      Cunningham.
                      I want to be sure that's being done
                      carefully and intentionally because if I
                      grant the motion to strike the testimony
                      this morning, what I'll be instructing the
                      jury to do is to consider only the
                      testimony of Ms. Cunningham that was given
                      yesterday on direct and cross.
                              
           There is no doubt that the court meant "recross-examination" and
          "redirect."
           Exhibit 9 was a receipt from INS for money paid to it by
          Cunningham. 
                                         -8-

          Tr. at 288-89.
                    At this point defense counsel requested disparate relief.
          Counsel for Magana asked that the testimony be stricken; counsel
          for Meda-Santos, who unlike Magana's counsel had yet to ask any
          questions on recross, withdrew his motion to strike the testimony
          and insisted on the opportunity to conduct recross-examination. 
                    The court struck the testimony, both redirect and
          recross, and instructed the jury that they should disregard it and
          consider only the testimony the witness had given the day before.
          Neither party objected to the instruction given to the jury.
                    The court also told counsel:
                      Now I'm cognizant of [Meda-Santos'
                      counsel's] argument that there's certain
                      things he would like to get out of this
                      witness, possibly he will want to call her
                      on his direct case, that's entirely up to
                      [him].
          Tr. at 291. Counsel for Meda-Santos asked that Cunningham be
          advised to remain "on call" for further testimony, but he did not
          later call Cunningham as a witness.
                                         II.
                                         A.
                    The sequestration of trial witnesses is a practice of
          long standing, and it may take various forms. "The judge's power to
          control the progress and, within the limits of the adversary
          system, the shape of the trial includes broad power to sequester
          witnesses before, during, and after their testimony."  Geders v.
          United States, 425 U.S. 80, 87 (1976). Until the adoption of the
          Federal Rules of Evidence, however, there was no positive rule
                                         -9-

          governing the practice generally in the federal courts, except that
          the matter was committed to the sound discretion of the trial
          court. See 
                     Holder v. 
                               United States
                                            , 150 U.S. 91, 92 (1893). Rule
          615 now requires the court, upon a party's request, to "order
          witnesses excluded so that they cannot hear the testimony of other
          witnesses." Fed. R. Evid. 615. See 
                                             United States
                                                           v. 
                                                              Sepulveda, 15
          F.3d 1161, 1175-76 (1st Cir. 1993); 
                                            United States
                                                          v. 
                                                             Arias-Santana,
          964 F.2d 1262, 1266 (1st Cir. 1992).
                    Apart from this "heartland" of courtroom sequestration
          mandated by Rule 615, the court retains discretion to add other
          restrictions or not, as it judges appropriate. Sepulveda, 15 F.3d
          at 1176 ("Outside of the heartland, the district court may make
          whatever provisions it deems necessary to manage trials in the
          interests of justice."). The regulation of witness conduct outside
          the courtroom is thus left to the district judge's discretion. 
                                                                        Id.
          The court may, for example, order that witnesses not converse with
          each other about the case.  See Arias-Santana, 964 F.2d at 1266.
          Further, the court has the discretion to prohibit counsel from
          conferring with a witness during the witness's testimony, including
          during any recesses in the trial.  See Geders, 425 U.S. at 87-88.
                    In this case the court granted Magana's oral motion for
          sequestration of witnesses without elaborating the terms of the
          order. It appears that the court assumed counsel's familiarity with
          a long-standing custom in the district that precluded counsel from
          conferring with a witness until the witness had been excused from
                                        -10-

          the stand.  As it happened, the prosecutor had only recently
          relocated to the district and was not familiar with the local
          practice. Indeed, the judge noted that this was the prosecutor's
          first trial before him. Nevertheless, it was not unreasonable for
          the court to presume that an Assistant United States Attorney would
          be familiar not only with the written rules of local practice, but
          also with those unwritten rules that had, by repeated application
          over time, become established as a "custom" of practice in the
          court. It is plain that the district court regarded the
          prohibition against conferring with a testifying witness as such an
          established custom, and we have no reason to question that
          assessment.
                    The district court concluded that the prosecutor's
          transgression had been inadvertent, "based on a misunderstanding of
          the rule." Tr. at 290. The defendants do not quarrel with that
          conclusion, and the record gives us no reason to doubt it. Because
          the violation was inadvertent, there was no need for any punitive
          sanction, and the focus of the court's response was properly on
                              
           The district judge announced that he found the prosecutor's
          meeting with the witness to be "a clear violation of the practices
          of the court," and added, "I can't at the moment remember whether
          it's specified in the local rules or whether it's simply a custom
          that has been so long assumed that it's not present there." Tr. at
          266. See also
                        Tr. at 262. In fact, the district's local rules do
          not address the matter.   See Local Rules of the United States
          District Court for the District of Maine. To avoid the problem
          that arose in this case, a district court may find it advisable to
          promulgate, by local rule or otherwise, standard terms for witness
          sequestration orders.
                                        -11-

          what needed to be done to prevent any prejudice to the defendants
          from the violation.
                                        -12-

                    As the district court has discretion in fashioning
          sequestration orders, it likewise has discretion in enforcing them.
          Arias-Santana, 964 F.2d at 1266 ("[T]he sanction determination is
          committed to the sound discretion of the trial court."). See also
          United States
                       v. 
                          Rossetti, 768 F.2d 12, 16 (1st Cir. 1985); 
                                                                     United
          States v. 
                   Arruda, 715 F.2d 671, 684 (1st Cir. 1983). We review the
          district court's action only to see if there was an abuse of that
          discretion. Arias-Santana, 964 F.2d at 1265; 
                                                      Rossetti, 768 F.2d at
          16. There was not.
                    We have recommended the course a district court should
          follow to deal with a situation in which evidence somehow improper
          is put before the jury: the court should strike the offending
          evidence and promptly instruct the jury to disregard it.
          Sepulveda, 15 F.3d at 1184. "[W]ithin wide margins, the potential
          for prejudice stemming from improper testimony . . . can be
          satisfactorily dispelled by appropriate curative instructions."
          Id. Jurors are presumed to follow such instructions, except in
          extreme cases. Id. at 1185.
                    The district judge took exactly those steps. He responded
          promptly to the problem. "Swiftness in judicial response is an
          important element in alleviating prejudice once the jury has been
          exposed to improper testimony."    Id. He permitted counsel to
          examine the witness about her conversation with the prosecutor and
          gave the defendants the choice to do that either in the presence of
          the jury or on  voir 
                                dire. After the   voir 
                                                        dire, he carefully
          evaluated the possibility of prejudice to the defendants before
                                        -13-

          determining to strike the testimony, and even after making the
          tentative decision, he took steps to assure that counsel had
          considered fully what impact striking the testimony might have on
          the state of the evidence. 
                    The circumstances did not call for more extreme action.
          "Declaring a mistrial is a last resort, only to be implemented if
          the taint is ineradicable, that is, only if the trial judge
          believes that the jury's exposure to the evidence is likely to
          prove beyond realistic hope of repair."  Id. at 1184. 
                    The significance of the evidence that was stricken was
          not great in the context of Cunningham's entire testimony. There
          had been extended cross-examination by both defendants the day
          before. The redirect itself was relatively brief, and the court
          found that it "did not significantly impair whatever value there
          was" in the previous cross-examination. Tr. at 266. Because of the
          relative brevity of the redirect, and because it was clearly
          separated from the balance of the witness's testimony by the
          overnight recess, the court concluded that the jury could
          realistically follow the instruction to put it out of their minds
          and to consider only the previous day's testimony by the witness.
          Accordingly, the court decided that striking the testimony and
          giving an appropriate instruction was a sufficient remedy. Our
          review of the record gives us no basis to say that that judgment
          was clearly wrong.
                              
           An abuse of discretion might be shown if the district court has
          made "a clear error of judgment."  United States v. Hastings, 847
                                        -14-

                    Meda-Santos further contends that striking the testimony
          deprived her of the opportunity, which Magana briefly had, to
          conduct recross-examination of the witness. The court should have
          left the tainted testimony alone, she says, and let her take
          advantage of it on recross. To the extent that this argument
          amounts to an assertion that the redirect examination was so potent
          that the jury could not realistically be expected to follow the
          instruction to disregard the testimony, we reject it for the
          reasons just stated. To the extent it is an objection that the
          defendant was deprived of a tactical weapon she might have had in
          the forensic battle, it is insubstantial. She had conducted a full
          cross-examination of the witness the day before, and in these
          circumstances any suggestion that the loss of an opportunity for
          recross amounted to a substantial infringement of her rights under
          the Confrontation Clause borders on the frivolous.    See  United
          States v. Mulinelli-Navas, 111 F.3d 983, 987 (1st Cir. 1997). 
                    Besides, the premise of the objection is infirm. Meda-
          Santos was not foreclosed from any further inquiry, as she claims.
          The court made clear that she could recall Cunningham to the stand
          as part of her case. She now says that it is unlikely that the
          court, having stricken the redirect, would have permitted her to
          question Cunningham about her meeting with the prosecutor, but the
          accuracy of that proposition is by no means clear. Meda-Santos
          never took up the opportunity opened to her to recall Cunningham,
          and how the district court would have responded to an attempt to
                              
          F.2d 920, 924 (1st Cir. 1988). 
                                        -15-

          inquire into the meeting with the prosecutor is a matter for
          speculation. We cannot find an abuse of discretion just because
          the appellant suggests that one of the district court's potential
          responses might have prejudiced her were it to have occurred. 
                    Finally, Meda-Santos claims that the district court's
          handling of the violation of the sequestration order demonstrates
          why it was an error for the court to have denied her pretrial
          motion to sever her trial from Magana's. The pretrial motion to
          sever was based on  Bruton  grounds. Meda-Santos does not now
          contend that it was error to have denied the motion on those
          grounds. Rather, she asserts a more general conflict that became
          evident when, faced with inconsistent requests for action from the
          codefendants, the court necessarily had to choose one and reject
          the other. If Meda-Santos had been tried separately, that
          conflict would not have arisen, and she could have gotten the
          ruling she wanted, instead of having to live with the ruling Magana
          wanted. 
                    Meda-Santos did not request severance when she and Magana
          sought different remedies for the violation of the sequestration
          order. Her failure to have made the argument to the trial court
          precludes her from raising it for the first time in this appeal.
          Accordingly, we review the point only for plain error,     United
          States v. 
                   Mitchell, 85 F.3d 800, 807 (1st Cir. 1996), and there was
          none.
                              
            Bruton v. United States, 391 U.S. 123 (1968).
                                        -16-

                    There are obvious advantages in judicial economy to the
          joint trial of defendants accused of the joint commission of
          crimes. See Zafiro v.  United 
                                        States, 506 U.S. 534, 537 (1993);
          United 
                 States v. 
                           O'Bryant, 998 F.2d 21, 25 (1st Cir. 1993).   See
          also Fed. R. Crim. P. 8. Like other important trial management
          decisions, the judgment whether to sever is largely left to the
          sound discretion of the trial court.    United 
                                                         States v.  Flores-
          Rivera, 56 F.3d 319, 325 (1st Cir. 1995). The exercise of that
          discretion will be condemned only where it deprives a defendant of
          a fair trial, resulting in a miscarriage of justice. 
                                                              United States
          v. 
            McLaughlin, 957 F.2d 12, 18 (1st Cir. 1992); 
                                                        Arruda, 715 F.2d at
          679. There was nothing approaching that degree of prejudice to
          Meda-Santos, if there was any recognizable prejudice at all, from
          denial of the severance motion. 
                    Evidence is often admitted against one defendant but not
          another in a joint trial, with limiting instructions being given
          the jury. Sometimes evidence is conditionally admitted, subject to
          its being stricken if the subsequent predicate does not materialize
          as anticipated. It is not at all an uncommon event that the
          strategies of defense counsel or the nuances of the rules of
          evidence will lead codefendants to differ as to the admission of
          evidence in a joint trial. Each time that happens is not an
          occasion for severance.  See McLaughlin, 957 F.2d at 18.
                    All in all, the trial court's handling of the
          government's violation of the witness sequestration order was not
          only acceptable, but admirable. There was no abuse of discretion.
                                        -17-

                                         B.
                    Prior to trial, the defendants sought discovery from the
          government to try to substantiate their claim that they were the
          victims of selective prosecution because of their ethnicity and/or
          national origin. In support of their motion, they pointed to press
          accounts of INS enforcement actions aimed at Spanish-speaking
          persons. The motion was denied on the ground that the defendants
          had not made a sufficient showing of the likelihood of selective
          prosecution to warrant the extraordinary discovery they were
          seeking. After their convictions, the defendants moved for a new
          trial, relying on the selective prosecution claim. In support of
          the latter motion, they added to their prior presentation the
          assertion that the trial itself had demonstrated that the
          government had chosen to prosecute only the Spanish-speaking
          defendants while choosing not to prosecute the other participants
          in the relevant events -- Cunningham and Ferrante -- who were not
          Spanish-speaking. The new trial motion was denied.
                    Because a selective prosecution claim "asks a court to
          exercise judicial power over a 'special province' of the
          Executive," United 
                             States v.  Armstrong, 116 S. Ct. 1480, 1486
          (1996), courts have consistently demanded "clear evidence,"   id.
          (quoting United  
                           States v. Chemical  
                                               Found., 272 U.S. 1, 14-15
          (1926)), that a prosecutorial decision "had a discriminatory
          effect and that it was motivated by a discriminatory purpose."
          Armstrong, 116 S. Ct. at 1487 (quoting 
                                                Wayte v. 
                                                         United States
                                                                      , 470
          U.S. 598, 608 (1985)). The prosecutor is presumed to have acted
                                        -18-

          "in good faith for reasons of sound governmental policy,"  United
          States v. Saade, 652 F.2d 1126, 1135 (1st Cir. 1981), unless the
          defendant can demonstrate both that she has been singled out for
          prosecution when others similarly situated have not been prosecuted
          and that the prosecutor's reasons for doing so were impermissible.
          United States
                       v. 
                          Penagaricano-Soler, 911 F.2d 833, 837-38 (1st Cir.
          1990).
                    Discovery concerning decisions to prosecute imposes
          substantial costs on the prosecutor. It intrudes on "the
          performance of a core executive constitutional function."
          Armstrong, 116 S. Ct. at 1486. It may "divert prosecutors'
          resources and may disclose the Government's prosecutorial
          strategy." Id. at 1488. For these reasons, "[t]he justifications
          for a rigorous standard for the elements of a selective-prosection
          claim thus require a correspondingly rigorous standard for
          discovery in aid of such a claim." Id.
                    The defendants did not make a sufficient prima facie
          showing of either discriminatory effect or discriminatory intent to
          justify the discovery they requested. Their pretrial motions
          relied only on a newspaper article about the arrest by the INS of
          four "illegal aliens" from El Salvador and Guatemala, the videotape
          of the INS interview of Magana and Cunningham (which displayed,
          according to the defendants, ethnic prejudice by the INS agent),
          and an unsworn statement that there were seventeen Spanish-
          speaking persons in INS custody in the local county jail. The
          district court properly determined that this showing fell short of
                                        -19-

          what the cases require. At most, these facts, viewed favorably to
          the defendants, established that Spanish-speaking persons were
          being prosecuted by the INS. The materials contained no
          information about INS prosecutions, or the absence of them, of non-
          Spanish-speaking persons. The information presented thus addressed
          only one half of the critical proposition. In order to be
          permitted discovery in this area, the defendants were required to
          make a threshold showing that there were similarly situated persons
          who were not prosecuted.  Armstrong, 116 S. Ct. at 1489. Their
          proffer failed to do that.
                    When they renewed their attack on this front in their
          motions for a new trial, the defendants added to the pretrial
          proffer the assertion that their trial itself showed the different
          treatment of non-Spanish-speaking persons, because Cunningham and
          Ferrante, both of whom participated in the same criminal events as
          the defendants, were not charged. That contention merits closer
          attention than the pretrial effort, but it nonetheless falls short
          of meeting the "rigorous standard" established by the cases. At
          most, the circumstance that Cunningham and Ferrante were not
          charged raises the question of selective prosecution; it does not
          make the prima facie showing required. 
                                                See 
                                                    Penagaricano-Soler, 911
          F.2d at 837.
                    There are many factors that affect a decision to
          prosecute a particular person, including "the strength of the case,
          the prosecution's general deterrence value, the Government's
          enforcement priorities, and the case's relationship to the
                                        -20-

          Government's overall enforcement plan."  Wayte, 470 U.S. at 607.
          There are readily apparent nondiscriminatory reasons why Cunningham
          and Ferrante were not charged. When the sham marriage scheme was
          detected, Cunningham promptly confessed her role and agreed to
          cooperate with officials, and the consequence of her cooperation
          was freedom from prosecution. Her cooperation was a justifiable
          reason for the prosecutor's decision not to charge her. Ferrante
          had played a less central role in events. In fact, she had refused
          a leading role. The prosecutor might well have estimated that
          proving her criminal culpability was more problematic than it was
          for the others. She also apparently cooperated with the Government
          at the trial, and that again was a legitimate consideration for the
          prosecutor to take into account. Neither the denial of the
          pretrial motions for discovery nor the denial of the new trial
          motions constituted an abuse of its discretion by the trial court. 
                                        III.
                    The claims of error brought to us by the defendants are
          without merit. The judgments of conviction, and the denial of the
          defendants' new trial motions, are affirmed.
                                        -21-


